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11 Attorneys for Plaintiffs,
12 Hugh Richie and Susan Walker
13
                                UNITED STATES DISTRICT COURT
14
                               CENTRAL DISTRICT OF CALIFORNIA
15
                                     SOUTHERN DIVISION
16
17 Hugh Richie and Susan Walker,               Case No.: 8:12-cv-00779-CJC (ANx)
18
                 Plaintiffs,                   VOLUNTARY WITHDRAWAL
19
20      vs.

21 Law Firm Of Allan C. Smith, P.C.; and
22 DOES 1-10, inclusive,
23                     Defendants.
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26
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28
     8:12-cv-00779-CJC (ANx)                                  VOLUNTARY WITHDRAWAL
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 1                NOTICE OF WITHDRAWAL OF COMPLAINT AND
 2              VOLUNTARY DISMISSAL OF ACTION WITH PREJUDICE
                           PURSUANT TO RULE 41(a)
 3
 4
                    Hugh Richie and Susan Walker (“Plaintiffs”), by Plaintiffs’ attorney,
 5
     hereby withdraw the complaint and voluntarily dismiss this action, with prejudice,
 6
     pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i).
 7
 8
 9                                                 By: /s/ Tammy Hussin
10                                                 Tammy Hussin Of Counsel
                                                   Lemberg & Associates, LLC
11                                                 Attorney for Plaintiffs, Hugh Richie and
12                                                 Susan Walker
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     8:12-cv-00779-CJC (ANx)                                          VOLUNTARY WITHDRAWAL
Case 8:12-cv-00779-CJC-AN Document 9 Filed 08/14/12 Page 3 of 4 Page ID #:31



 1                                  CERTIFICATE OF SERVICE
 2
            I, the undersigned, certify and declare that I am over the age of 18 years, and
 3
 4 not a party to the above-entitled cause. On August 14, 2012, I served a true copy of
 5 foregoing document(s): VOLUNTARY WITHDRAWAL.
 6
 7 BY ELECTRONIC FILING: I hereby                Attorney for Defendants Law Firm Of
 8 certify that on August 14, 2012, a copy of Allan C. Smith, P.C.
   the foregoing document was filed
 9 electronically. Notice of this filing will be
10 sent by operation of the Court's electronic
   filing system to all parties indicated on
11 the electronic filing receipt. All other
12 parties will be served by regular U.S.
   Mail. Parties may access this filing
13 through the Court's electronic filing
14 system.
15
16
            I am readily familiar with the firm's practice of collection and processing
17
18 correspondence for mailing. Under that practice it would be deposited with the U.S.
19 Postal Service on that same day with postage thereon fully prepaid in the ordinary
20
   course of business. I am aware that on motion of the party served, service is presumed
21
22 invalid if postal cancellation date or postage meter date is more than one day after the
23 date of deposit for mailing in affidavit.
24
         I hereby certify that I am employed in the office of a member of the Bar of this
25
26 Court at whose direction the service was made.
27          Executed on August 14, 2012.
28
                                                 3
     8:12-cv-00779-CJC (ANx)                                         VOLUNTARY WITHDRAWAL
Case 8:12-cv-00779-CJC-AN Document 9 Filed 08/14/12 Page 4 of 4 Page ID #:32



 1
 2                                        By: /s/ Tammy Hussin
                                          Tammy Hussin Of Counsel
 3                                        Lemberg & Associates, LLC
 4                                        Attorney for Plaintiffs, Hugh Richie and
                                          Susan Walker
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     8:12-cv-00779-CJC (ANx)                                 VOLUNTARY WITHDRAWAL
